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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


ANTHONY COVIELLO,                               )    CASE NO. 1:04 CR 00595
                                                )             1:09 CV 115
               Petitioner.                      )
                                                )
       vs.                                      )    JUDGE DAN AARON POLSTER
                                                )
UNITED STATES OF AMERICA,                       )
                                                )    MEMORANDUM OF OPINION
               Respondent.                      )    AND ORDER


       Before the Court is the Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255 filed On January 16, 2009 by Pro Se Petitioner Anthony Coviello (“§ 2255

Motion” or “Motion”) (ECF No. 746). For reasons explained below, the Court, pursuant to Rule

4(b) of the Rules Governing Section 2255 Proceedings in the United States District Courts,

summarily GRANTS in part and DENIES in part the Motion.

                                                I.

       Coviello was one of twenty-five defendants named in a seven-count indictment, filed on

September 8, 2004, charging a drug-trafficking conspiracy. ECF No. 1. Count One charged

Coviello with conspiracy to distribute and possess with the intent to distribute marijuana and

cocaine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 21 U.S.C. § 846. Count Six

charged Coviello with money laundering in violation of 18 U.S.C. § 1956(a)(1)(A)(i). Count
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Seven charged Coviello with conspiracy to commit money laundering in violation of 18 U.S.C.

§§ 1956(a)(1)(A)(i), (B)(i), and (B)(ii).

       In a written plea agreement, Coviello entered pleas of guilty to Counts One and Seven in

exchange for the dismissal of Count Six. ECF Nos. 181, 243 (“Plea Agreement”). Therein,

Coviello also waived his right to directly appeal, or to challenge collaterally, his conviction or

sentence collaterally except for, among other things, claims of ineffective assistance of counsel .

ECF No. 243. The Court thereafter sentenced Coviello to 135 months incarceration followed by

5 years of supervised release, and imposed a fine of $25,000. ECF No. 652.

       Coviello subsequently raised a claim of ineffective assistance of counsel on direct appeal.

See ECF No. 716. The Sixth Circuit Court of Appeals declined to review the claim on the basis

that it was more properly raised in a motion to vacate under 28 U.S.C. § 2255. Id. at 2 (citations

omitted). Consequently, Coviello filed the pending § 2255 Motion raising two grounds for relief

based on ineffective assistance of counsel. ECF No. 746.

                                                 II.

       Under 28 U.S.C. § 2255, a federal district court may grant relief to a prisoner in custody

under a sentence imposed by that court “upon the ground that the sentence was imposed in

violation of the Constitution or laws of the United States, or that the court was without

jurisdiction to impose such sentence, or that the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral attack . . . .” Id. To prevail on a § 2255

claim, the petitioner must show a fundamental defect in the proceedings “which necessarily

results in a complete miscarriage of justice or an egregious error violative of due process.” Nagi




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v. United States, 90 F.3d 130, 133-34 (6th Cir. 1996) (quoting Gall v. United States, 21 F.3d 107,

109 (6th Cir. 1994)).

        Rule 4(b) of the Rules Governing Section 2255 Proceedings requires the judge to whom

the § 2255 motion is assigned to promptly make a preliminary examination of the petition,

records, and transcripts relating to the judgment under attack. Rule 4(b) provides, in pertinent

part:

               [i]f it plainly appears from the motion, any attached exhibits, and the record of
               prior proceedings that the moving party is not entitled to relief, the judge must
               dismiss the motion and direct the clerk to notify the moving party. If the motion
               is not dismissed, the judge must order the United States attorney to file an answer,
               motion, or other response within a fixed time, or to take other action the judge
               may order.

Id. The Court has promptly examined the motion and the record in the underlying criminal case,

including the presentence investigation report, the plea agreement and the transcripts of the

relevant hearings, in evaluating the pending Motion, and is prepared to summarily resolve it.

                                                III.

        Coviello’s grounds for relief are based on ineffective assistance of counsel. Claims of

ineffective assistance of counsel are analyzed under the standard enunciated in Strickland v.

Washington, 466 U.S. 668 (1984). To prevail on a claim of ineffective assistance of counsel, the

petitioner must establish two elements: (1) counsel’s performance fell below an objective

standard of reasonableness, and (2) there is a reasonable probability that, but for counsel’s

deficiency, the outcome of the proceedings would have been different. Griffin v. United States,

330 F.3d 733, 736 (6th Cir. 2003) (citing Strickland, 466 U.S. at 694). A review of counsel’s

performance must be highly deferential and requires the courts to “indulge a strong presumption

that counsel’s conduct falls within a wide range of reasonable professional assistance.” Monzo v.

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Edwards, 281 F.3d 568, 579 (6th Cir. 2002) (quoting Strickland, 466 U.S. at 689). As to the

second “prejudice” prong, the Supreme Court has stated that “[a] reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id.

                                               IV.

                                                A.

       Coviello argues that counsel was ineffective for failing to object to the Court’s

imposition of a $25,000 fine when the Court intended to impose the minimum applicable

guideline fine and the correct minimum fine was actually $15,000. The record is clear that the

Court voiced its intention to “impose the minimum fine under the sentencing guideline range.”

Sentencing Hr’g Tr. at 20. Furthermore, Coviello is correct that the minimum fine for Offense

Level 31, Criminal History Category III, under which he was sentenced, is $15,000. U.S.S.G. §

5E1.2(c)(3).

       While the error was that of the undersigned, counsel should have pointed it out to the

Court – if not at the sentencing hearing, then within the seven-day period provided by Rule 35(a)

of the Federal Rules of Criminal Procedure. The Court thus GRANTS that portion of the

Petition seeking a reduction of the fine from $25,000 to $15,000.

                                                B.

       Coviello also argues that counsel provided constitutionally ineffective advice to him

when counsel allegedly told him not to complete the financial forms required by the Probation

Department in preparing the Presentence Investigation Report (“PIR”). Coviello contends that

had he completed the financial forms, they would have shown that he had no money left, and that




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no fine whatsoever would have been imposed on him. This claim is baseless for the following

reasons.

        It is undisputed, and Coviello recognizes, that the United States Sentencing Guidelines

places the burden on a defendant to prove that he is unable to pay a fine. Motion at 7 (citing

U.S.S.G. § 5E1.2(a)); see also United States v. Hickey, 917 F.2d 901, 907 (6th Cir. 1990).

Coviello concedes that “this Court did not err in imposing a fine.” Id. at 7. And neither counsel

nor Coviello objected to the fine at the time it was announced, or in a timely Rule 35(a) filing

thereafter.

        The plea agreement Coviello reviewed and signed states that he “understands that the

Court, within its discretion, may order the defendant to pay a fine.” Plea Agreement ¶ 13. The

record shows, and the Sixth Circuit has already ruled, that Coviello knowingly, intelligently, and

voluntarily entered into the terms of this plea agreement. See ECF No. 716 at 2.

        The PIR repeatedly detailed Coviello’s failure to provide financial documents regarding

his financial status, his burden of proof regarding the matter, the consequences thereof, and the

likelihood of a fine. PIR ¶¶ 156, 157, 165, 180, 181; PIR Addendum at 30. When the Court

addressed Coviello at the outset of the sentencing hearing, Coviello acknowledged that he had

received a copy of the PIR, had fully read it, had gone over it with his attorney, and was able to

ask his attorney any questions he had. Sentencing Hr’g Tr. at 2. The totality of the record before

the Court thus paints the picture of a petitioner well informed of not only his financial disclosure

responsibilities but also the consequences that could result if he did not meet them.

        Paradoxically, Coviello concedes that his counsel was effective in the advocacy rendered.

Based partly on counsel’s effectiveness, the Court sentenced Coviello to 135 months


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imprisonment – a term less than half the 360-month guideline range originally recommended in

the PIR. Motion at 8 (“based upon circumstances and arguments delivered by the defense, the

Court granted departures from the otherwise applicable guidelines range.”).

       Coviello’s attempt to fit the instant case within the precedent of another jurisdiction is

unsound. Although Coviello cites United States v. Bass, 310 F.3d 321, 330 (5th Cir. 2002),

where an additional $50 in assessment fees established prejudice, that same case still required

the additional showing of professional conduct below a reasonable standard per Strickland

before ineffective assistance of counsel could be established. Id. As discussed above, such

indication of substandard professional conduct is contradicted by the preponderance of court

documents as well as Coviello’s own brief. Furthermore, where three other defendants indicted

with Coviello also received fines as part of their sentences (Oswald Angulo, $10,000 fine, ECF

No. 641; William Davison, $5,000 fine, ECF No. 582; Mark Mendivil, $2,000 fine, ECF No.

378), Coviello likewise may well have been subject to a fine irrespective of any claimed

deficiencies of counsel. Looking at the facts in totality, the speculative and poorly founded basis

of Coviello’s claims, and the fact that Coviello admits counsel was otherwise very effective in

his advocacy at the sentencing hearing, the Court concludes that Coviello has not overcome the

strong presumption that defense counsel’s conduct fell “within [the] wide range of reasonable

professional assistance.” Monzo, 281 F.3d at 579. Coviello’s first ground for claiming

ineffective assistance of counsel is hereby DENIED.

                                                 V.

       Because it is apparent that the Court intended to impose the minimum fine under the

applicable guideline range, and that counsel was ineffective for failing to bring this error to the


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Court’s attention, that portion of Coviello’s motion consistent with a reduction of the fine from

$25,000 to $15,000 is GRANTED.

       Coviello’s motion is summarily DENIED in all other respects because it is equally

apparent from an examination of the record that the other ground for claiming ineffective

assistance of counsel is meritless.

               IT IS SO ORDERED.



                                             /s/Dan Aaron Polster February 4, 2009
                                             Dan Aaron Polster
                                             United States District Judge




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